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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


TODD COURSER,

               Plaintiff,

v.                                                            Case No. 1:16-CV-1108

KEITH ALLARD, et al.,                                         HON. GORDON J. QUIST

            Defendants.
_______________________/


               ORDER GRANTING IN PART AND DENYING IN PART
           PLAINTIFF’S MOTION FOR EXTENSION OF TIME (ECF No. 111)

       Plaintiff, Todd Courser, filed a 182-page, 1,073-paragraph, 22-count complaint against 26

Defendants alleging claims under federal and state law. Courser’s behemoth of a pleading is

probably subject to dismissal for failure to comply with Federal Rule of Civil Procedure 8(a)(2)’s

requirement that the statement of the claim be “short and plain,” and Federal Rule of Civil Procedure

8(d)’s requirement that “[e]ach allegation . . . be simple, concise, and direct.” See Pickle v. Stine,

No. 6:07-19-DCR, 2007 WL 1173028, at *3 (E.D. Ky. Apr. 19, 2007) (“A district court has the

power to dismiss a complaint when a plaintiff fails to comply with the Federal Rules of Civil

Procedure, including Rule 8(a)(2)’s ‘short and plain statement’ requirement.” (citing Vakalis v.

Shawmut Corp., 925 F.2d 34, 36 (1st Cir. 1991))). Nonetheless, by the Court’s count, 20 Defendants

have filed a total of six Rule 12(b)(6) motions to dismiss and nine Defendants filed a motion for

Rule 11 sanctions.

       Courser has filed a motion for an extension of time, in which he requests that the Court: (1)

grant him a 60-day extension to file an amended complaint as of right; (2) grant him a 60-day

extension to respond to the pending motions to dismiss and the motion for Rule 11 sanctions; and
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(3) order that upon filing the amended complaint, the Rule 11 and Rule 12(b)(6) motions will be

dismissed without prejudice as moot. Courser states that he intends to amend to add two new

defendants and remove some of the counts. It also appears that Courser may intend to add

allegations, based on a large amount of documents that he intends to review, apparently to address

pleading deficiencies. Defendants Allard and Benjamin, and Defendants Michigan State Police,

Brewer, Britvec, Dwyre, and Schuette, have filed responses stating that they oppose some or all of

the relief Courser requests.

       The Court will not grant Courser’s request to extend the time for him to amend his complaint

as of right. Defendants have, no doubt, incurred substantial time and expense parsing Courser’s

allegations to prepare their pending Rule 12(b)(6) motions. Defendants are entitled to timely

consideration of their arguments in order to determine whether they will be required to continue to

defend Courser’s allegations. Moreover, based on its preliminary review of the motions, it appears

that at least some of the deficiencies likely cannot be cured by amendment. Nonetheless, the Court

will grant Courser a thirty-day extension to respond to the pending motions. If Courser seeks to

amend, he must file a motion for leave and attach a copy of the proposed amended complaint.

Courser must describe in detail the purpose of the amendment and, if allegations are added to cure

pleading deficiencies noted in the pending Rule 12(b)(6) motions, explain why they cure such

deficiencies. Courser will have sixty days to file his motion for leave to amend. Defendants will

have the opportunity to respond to Courser’s motion.

               Therefore,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Extension to File Amended

Complaint and Respond to Rule 11 and 12(b) Motions (ECF No. 111) is GRANTED IN PART

AND DENIED IN PART. Plaintiff’s request for an extension of time to file an amended complaint


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as of right is DENIED. Plaintiff may file a motion for leave to file an amended complaint within

sixty (60) days of the date of this Order, as set forth above. Plaintiff is granted an additional

thirty (30) days to respond to the pending Rule 11 and Rule 12(b)(6) motions.



Dated: December 9, 2016                                   /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE




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